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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA et al.,                          )
                                                          )
     Plaintiffs,                                          )
                                                          )
            v.                                            )      Case No. 20-cv-3010 (APM)
                                                          )
GOOGLE LLC,                                               )
                                                          )
     Defendant.                                           )
_________________________________________                 )
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                                                          )
STATE OF COLORADO et al.,                                 )
                                                          )
     Plaintiffs,                                          )
                                                          )
           v.                                             )      Case No. 20-cv-3715 (APM)
                                                          )
GOOGLE LLC,                                               )
                                                          )
     Defendant.                                           )
_________________________________________


 [PROPOSED] ORDER GRANTING MOTION OF AMICI PLAINTIFFS FOR LEAVE
                   TO FILE AMICUS CURIAE BRIEF

       Upon this Court’s review and full consideration of the Motion for Leave to File Amicus
Curiae Brief by Plaintiffs in California Crane School v. Google, et al., Case No. 21-cv-10001
(N.D. Cal.), on Appeal Case No. 24-4604 (9th Cir.), and Mary Katherine Arcell, et al. v. Google,
LLC, et al., Case No. 22-cv-02499 (N.D. Cal.) (“Amici Plaintiffs”), and there appearing good
cause to grant such leave, it is hereby ORDERED that the Motion is GRANTED, and the attached
proposed amicus curiae brief shall be deemed submitted and shall be considered part of the record
in this matter.

Dated: _________________                      _____________________________
                                              HONORABLE AMIT P. MEHTA
                                              UNITED STATES DISTRICT JUDGE
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